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               IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                       SOUTHERN DIVISION

STATE OF MISSISSIPPI; STATE OF
ALABAMA; STATE OF ARKANSAS;                        Case No. 1:22-cv-113-HSO-RPM
COMMONWEALTH OF
KENTUCKY; STATE OF                                 Memorandum of Authorities
LOUISIANA; STATE OF MISSOURI;                      Supporting Plaintiffs’ Response in
and STATE OF MONTANA,                              Opposition to Motion for Leave to
                          Plaintiffs,              Participate as Amici Curiae in
                                                   Summary Judgment Hearing
v.

XAVIER BECERRA, in his official
capacity as Secretary of Health and
Human Services; THE UNITED
STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;
CHIQUITA BROOKS-LASURE, in her
official capacity as Administrator of the
Centers for Medicare and Medicaid
Services; THE CENTERS FOR
MEDICARE AND MEDICAID
SERVICES; THE UNITED STATES
OF AMERICA,
                                 Defendants.

      This Court should deny Movants’ Motion for Leave to Participate as Amici Curiae

in Summary Judgment Hearing. See Doc. 112, 113. As this Court explained in its order

denying intervention, district “courts typically apply Rule 29 of the Federal Rules of

Appellate Procedure.” Doc. 87 at 17. If a party is not “willing to share its argument time

with the amicus,” then that Rule requires “extraordinary circumstances” before

Movants may participate at oral argument. See Fed. R. App. P. 29, adv. comm. notes.

Movants do not state that Defendants have agreed to share their argument time, see

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Doc. 113 ¶15, and extraordinary circumstances don’t exist here. Even if Defendants

had agreed to share argument time,1 the motion should still be denied.

       On the merits, this litigation turns on a single question of law: whether the Anti-

Racism Rule exceeds the agency’s statutory authority. The parties have already litigated

that question. This Court has already ruled that “[t]he Secretary lacks authority to

‘identif[y]’ an activity as an ‘activit[y] specified under [the statute]’ when the activity does

not satisfy the very definition of such activities set forth in the statute.” Colville v. Becerra,

2023 WL 2668513, at *19 (S.D. Miss. Mar. 28, 2023). And whether that definition is

satisfied depends on written materials in the administrative record that the parties and

Movants have already briefed and that the Court is capable of reviewing. See Doc. 108

at 20-23; Doc. 91 at 14-15; Doc. 96 at 23-25. On standing, this litigation also turns on

a single question of law: whether the States suffer an injury because of the Anti-Racism

Rule. Defendants and Movants have fully briefed that legal question too. Doc. 91 at 8-

12; Doc. 96 at 9-23. Movants have identified no good reason that their participation as

amici should involve more than the lengthy brief they already filed.

       First, Movants’ lead argument shows that their motion should be denied. They

say they will present arguments “Defendants have not raised,” including on the merits

question of whether the States’ “interpretation of the ‘clinical practice improvement


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          Movants’ request “15 minutes to present oral argument at any hearing this Court holds on
the parties’ cross-motions for summary judgment.” Doc. 113 at 7. If this Court grants the motion,
that time should come out of Defendants’ time given Rule 29, the considerable overlap between
Defendants’ and Movants’ arguments, and fairness to Plaintiffs.

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activity’ definition is inconsistent with the statute’s text.” Doc. 113 ¶¶6-7. That’s

improper. As the Fifth Circuit has explained, courts “do not consider arguments raised

by an amicus that the party it is supporting never made.” Voices for Int’l Bus. & Educ.,

Inc. v. Nat’l Lab. Rels. Bd., 905 F.3d 770, 776 n.6 (5th Cir. 2018) (party “ha[d] never

contended that it satisfies [a] definition”). Movants argue that this rule applies only to

appeals because parties forfeit arguments on appeal that they didn’t raise in the district

court. Doc. 113 ¶8. But that assertion ignores that parties can likewise forfeit arguments

in the district court. E.g., Thomas v. Nationstar Mortg., LLC, 2023 WL 2780360, at *7 n.4

(S.D. Miss.) (Ozerden, J.) (party that didn’t address an issue “in his Response … or

accompanying Memorandum … has forfeited any argument on this issue” (citing Rollins

v. Home Depot USA, 8 F.4th 393, 397 (5th Cir. 2021)); Jamison v. McClendon, 476 F. Supp.

3d 386, 418 (S.D. Miss. 2020). It ignores that district courts apply appellate rules

regarding “amicus status in district court proceedings.” Doc. 87 at 17. And it ignores

that district courts also apply the rule against allowing amici to introduce new arguments

at summary judgment. See, e.g., DCOR, LLC v. U.S. Dep’t of the Interior, 2023 WL

4748197, at *1 & 9 n.21 (N.D. Tex.) (“the Court will not consider arguments [the party]

did not raise itself”); see also Tafas v. Dudas, 511 F. Supp. 2d 652, 660-61 (E.D. Va. 2007).

Movants’ lead argument for participation is therefore a reason to deny the motion.

       Second, Movants argue that they will “aid the Court at oral argument” because

they will repeat arguments Defendants did make. Doc. 113 ¶¶9-12. For example,

Movants want time to tell this Court about Haaland v. Brackeen, 143 S. Ct. 1609 (2023).

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But they don’t need time at a hearing to do that. Everyone has now briefed the relevance

of that decision. Doc. 108 at 11-14; Doc. 91 at 9; Doc. 96 at 16-17. And this Court can

read those arguments and Brackeen for itself. The United States—which prevailed in that

case—is fully capable of answering any questions the Court has about it. All that’s left

is Movants’ promise to introduce new facts by discussing “[a] study that [they] designed

and conducted.” Doc. 113 ¶11. Movants’ brief again shows that all intended unique

contributions are improper. See supra; Doc. 87 at 17 (explaining that Movants “cannot

add any new facts in this case”).

       Finally, Movants argue that they have an interest “in how this case is resolved,”

Doc. 113 ¶13, but this Court has already ruled that Movants “are adequately represented

by Defendants in the litigation,” see Doc. 87 at 16. Movants argue that their participation

will not unnecessarily delay the case, but that consideration was just one reason why

this Court denied intervention. Movants can’t refute the fact that this Court separately

held that Defendants adequately represent Movants and that Movants will contribute

insignificantly because they can’t introduce new issues. See Doc. 87 16-17. All that’s left

is Movants’ incorrect assertion that “Plaintiffs have now walked back their claim that

Amici can present their arguments to the Court,” against which they want time to argue.

Doc. 7 at 7. Not true. Movants have already presented their arguments. Doc. 96.

Plaintiffs argue only that this Court should not consider new arguments and facts not

briefed by the parties, consistent with precedent. See supra. Movants have now

responded to that argument. Doc. 113 ¶8, so no argument time is needed for them to

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address it. And if the Court disagrees with the States on this point, Movants’ arguments

are plainly fleshed out in their amicus brief for the Court’s consideration.

                                    CONCLUSION
       For the foregoing reasons, the Court should deny Movants’ motion.

 Dated: October 13, 2023                         Respectfully submitted,

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*pro hac vice
**pro hac vice pending
***pro hac vice forthcoming

                          CERTIFICATE OF SERVICE
       I e-filed this opposition with the Court, which will email everyone requiring

service.

       Dated: October 13, 2023                               s/ Cameron T. Norris


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